       Case 1:22-mj-00167-SAB Document 15 Filed 11/09/22 Page 1 of 1


1
2
3
4
5
6                             IN THE UNITED STATES DISTRICT COURT
7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8    UNITED STATES OF AMERICA,                   )      Case №: 1:22-MJ-00167-1-SAB
                                                 )
9                    Plaintiff,                  )                    ORDER
                                                 )               APPOINTING COUNSEL
10           vs.                                 )
                                                 )
11   DALE WESLEY HUBBARD,                        )
                                                 )
12                   Defendant.                  )
                                                 )
13
            The above named Defendant has, under oath, sworn or affirmed as to his financial
14
15   inability to employ counsel or has otherwise satisfied this Court that he is financially unable to

16   obtain counsel and wishes counsel be appointed to represent him. Therefore, in the interests of

17   justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
18
            IT IS HEREBY ORDERED that Kevin P. Rooney be appointed to represent the above
19
     defendant in this case effective nunc pro tunc to November 3, 2022.
20
            This appointment shall remain in effect until further order of this court.
21
22
     IT IS SO ORDERED.
23
        Dated:     November 8, 2022                            /s/ Barbara A. McAuliffe               _
24
                                                        UNITED STATES MAGISTRATE JUDGE
25
26
27
28

                                                      -1-
